                                                    I hereby certify that the annexed
                                                  instrument is a true and correct copy
                                                    of the original on file in my office.

                                              ATTEST:
                                              Clerk, U.S. District Court
                                              Northern District of California


                                                  by:     Jessie Mosley
                                                             Deputy Clerk
                                                  Date:
                                                            10/20/2022

Case 4:22-cv-00605-HFS Document 4 Filed 10/20/22 Page 1 of 4
Case 4:22-cv-00605-HFS Document 4 Filed 10/20/22 Page 2 of 4
Case 4:22-cv-00605-HFS Document 4 Filed 10/20/22 Page 3 of 4
Case 4:22-cv-00605-HFS Document 4 Filed 10/20/22 Page 4 of 4
